

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,239






EX PARTE RODNEY SAMANIEGO, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NUMBER B-00-0998-S IN THE 119TH JUDICIAL DISTRICT COURT

TOM GREEN COUNTY





	Per curiam.

O P I N I O N





	This is a post-conviction application for a writ of habeas corpus forwarded to this
Court pursuant to Tex. Code Crim. Proc. art. 11.07.  Applicant was convicted of the felony
offense of delivery of a controlled substance, and punishment was assessed at confinement
for forty-three years.  Applicant appealed, and his conviction was affirmed. Samaniego v.
State, No. 03-01-00718-CR (Tex. App. -- Austin, delivered July 26, 2002, no pet.).

	Applicant contends that he was denied an opportunity to file a petition for
discretionary review because his appellate attorney did not inform him that he could seek
discretionary review pro se.  The trial court, based upon an affidavit from appellate counsel,
recommended that relief be granted.  The record reflects that counsel did not inform
Applicant that he could file a petition for discretionary review from his conviction.

	Habeas corpus relief is granted and Applicant is granted leave to file an out-of-time
petition for discretionary review from his conviction in cause number B-00-0998-S from the
119th Judicial District Court of Tom Green County.  Applicant is ordered returned to the
point at which he can file a meaningful petition for discretionary review.  For purposes of the
Texas Rules of Appellate Procedure, all time limits shall be calculated as if the Court of
Appeals' decision had been rendered on the day the mandate of this Court issues.  We hold
that should Applicant desire to seek discretionary review, he must take affirmative steps to
see that his petition is filed in the Court of Appeals within thirty days of the date the mandate
of this Court has issued.


DELIVERED: September 14, 2005

DO NOT PUBLISH


